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AS: USAQ#2019R00455 2019 JUL 17 PN 3: 25
IN THE UNITED STATES DISTRICT COURT © 7F :c=.
FOR THE DISTRICT OF MARYLAND) 71~18 iGo
UNITED STATES OF AMERICA * BY DLPUTY
v. * CRIMINAL NO. + KB-19-O236
He
MICHAEL DANIEL ALLAIRE, * (Possession with Intent to Distribute
a.k.a, “POP” * Cocaine Base and Cocaine, 21 U.S.C. §
a.k.a. “POPS” * 841; Forfeiture, 21 U.S.C. § 853)
*
Defendant. *
, *
INDICTMENT
COUNT ONE

(Possession with Intent to Distribute Cocaine Base and Cocaine)
The Grand Jury for the District of Maryland charges that:
On or about March 6, 2019, in the District of Maryland, the defendant,
MICHAEL DANIEL ALLAIRE,
did knowingly and intentionally possess with the intent to distribute 28 grams or more of a mixture
or substance containing a detectable amount of cocaine base, a Schedule II controlled substance,
and a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

21 U.S.C. § 841(a)
21 U.S.C. § 841(b)(1)
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FORFEITURE ALLEGATIONS

The Grand Jury further finds that:

1. Pursuant to Title 21, United States Code, Section 853, upon conviction of an
offense in violation of 21 U.S.C. § 841, as set forth in Count One, the defendant shall forfeit to the
United States of America:

a. any property constituting, or derived from, any proceeds obtained, directly
or indirectly, as the result of such violation; and |

b. any property used or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, such violation,

including but not limited to approximately $22,965 in U.S. currency seized from the defendant on

March 6, 2019.
2. If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence: '

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to 21

U.S.C. § 853(p).
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Robert K. Hur
United States Attorney

 

SIGNATURE REDACTED.

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Date: Aub S72 ZO/9

 
